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Hon. Colleen McMahon

United States District Court l
Southern District of New York §§ %gé
500 Pearl Street, Room 2550 "
New York, New York 10007

Re: James Kevin Kergil v. USA, Nos. l7-cv-4675 (CM), l2-cr-l 52 (CM) (SDNY)
Dear Judge McMahon:

l\/Iy office has just been retained to handle James Kevin Kergil’s pending 28 U.S.C. § 2255
motion to vacate his conviction. By this letter, we respectfully ask the Court to temporarily suspend
the motion so we may review the record and determine how best to proceed ~ e.g., whether to seek
leave to amend and supplement Mr. Kergil’s pro se submissions with a counseled brief. We would
conduct this review expeditiously, promptly notifying the Court and the government of our
intentions. We appreciate Your Honor’s consideration and courtesy in this regard.

Respectfully,
/s/

Marc Fernich

cc: AUSA Eun Young Choi (ECF)

 

